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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

CRUZ MANUEL RAMOS,

                 Plaintiff/Petitioner,

        -v-                                                           No. 06 CR 172-LTS
                                                                      No. 16 CV 4499-LTS
UNITED STATES OF AMERICA,

                 Defendant/Respondent.

-------------------------------------------------------x


                                                           ORDER

                 The resentencing proceeding in this case is adjourned to Wednesday January 26,

2021, at 9:45 a.m. in a Courtroom to be determined. The parties’ attention is directed to the

attached information regarding Courthouse entry and COVID-19 test reporting protocols.

                 Counsel are directed to email Chambers at

SwainNYSDCorresp@nysd.uscourts.gov any further documents they would like the Court to

consider during or in connection with the sentencing proceeding at least 24 hours in advance of

the proceeding. No hard copy documents will be accepted in the courtroom.

                 To access the audio feed of the conference, members of the press and public may

call 888-363-4734 and use access code 1527005# and security code #3756. Persons granted

remote access to proceedings are reminded of the general prohibition against photographing,

recording, and rebroadcasting of court proceedings. Violation of these prohibitions may result in

sanctions, including removal of court issued media credentials, restricted entry to future




RAMOS - SCHEDULING ORDER V2                                VERSION JANUARY 11, 2021                1
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hearings, denial of entry to future hearings, or any other sanctions deemed necessary by the

court.



         SO ORDERED.

Dated: New York, New York
       January 12, 2021

                                                            __/s/ Laura Taylor Swain_________
                                                            LAURA TAYLOR SWAIN
                                                            United States District Judge




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 All members of the public, including attorneys, appearing at a Southern District of New York
 courthouse must complete a questionnaire and have their temperature taken before being allowed
 entry into that courthouse. Please review the current courthouse entry protocols in advance,
 which can be found at https://www.nysd.uscourts.gov/covid-19-coronavirus.
 On the day you are due to arrive at the courthouse, click on the following weblink, or scan the
 following QR code with a mobile device camera to begin the enrollment process. Follow the
 instructions and fill out the questionnaire. If your answers meet the requirements for entry, you
 will be sent a QR code to be used at the SDNY entry device at the courthouse entrance.
                                https://app.certify.me/SDNYPublic




Note: If you do not have a mobile phone or mobile phone number, you must complete the
questionnaire and temperature screening at an entry device at the courthouse.
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                                         UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF NEW YORK

                                        Office of the District Court Executive

 EDWARD A. FRIEDLAND                                                                      Voice: (212) 805-0500
 District Court Executive                                                                 Fax: (212) 805-0383
                                                   MEMORANDUM


TO:                  ALL PERSONS VISITING AN SDNY COURTHOUSE

FROM:                OFFICE OF THE DISTRICT EXECUTIVE

SUBJECT:             NOTIFICATION OF A POSITIVE COVID-19 TEST RESULT

DATE:                12/1/2020


The Court asks for your help in assisting to ensure the health and safety all of who have come into the SDNY
Courthouses. If you have tested positive for COVID-19 within 14 days after visiting a SDNY Courthouse,
please complete our questionnaire by going to:

                                    https://www.surveymonkey.com/r/SDNY_COVID
                                                        or
                                           Scan the following QR Code




If you have any questions or cannot access the questionnaire, please e-mail covid_response@nysd.uscourts.gov.
